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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TV TOKYO CORPORATION,                                      )
                                                           )   Case No. 24-cv-6985
        Plaintiff,                                         )
                                                           )   Judge Virginia M. Kendall
v.                                                         )
                                                           )
THE INDIVIDUALS, CORPORATIONS,                             )
LIMITED LIABILITY COMPANIES,                               )
PARTNERSHIPS AND UNINCORPORATED                            )
ASSOCIATIONS IDENTIFIED                                    )
ON SCHEDULE A HERETO,                                      )
                                                           )
        Defendants.                                        )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
CORPORATION hereby dismisses with prejudice all causes of action in the complaint as to the
Defendants identified below and in Schedule A. No motions are pending relative to these Defendants.
Each party shall bear its own attorney's fees and costs.
        No.     Defendant
        107     jiyebaihuodian
        174     Sheng Hu

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                                  Respectfully submitted,

Dated: September 25, 2024                         By:      s/Michael A. Hierl
                                                           Michael A. Hierl (Bar No. 3128021)
                                                           William B. Kalbac (Bar No. 6301771)
                                                           Robert P. McMurray (Bar No. 6324332)
                                                           John Wilson (Bar No. 6341294)
                                                           Hughes Socol Piers Resnick & Dym, Ltd.
                                                           Three First National Plaza
                                                           70 W. Madison Street, Suite 4000
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                                                           Attorneys for Plaintiff
                                                           TV TOKYO CORPORATION
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on September 25, 2024.



                                                          s/Michael A. Hierl
